                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION



UNITED STATES OF AMERICA        )
                                )                     File no.: 3:05-CR-00294
  v.                            )                     ORDER
                                )
BOBBY LARUE THOMPSON, SR. )
                                )
                  Defendant.    )
________________________________)


      THIS MATTER come before the Court on motion of defense counsel for interim
payment. For good cause shown, this motion is GRANTED.

       IT IS THEREFORE ORDERED that interim payment be made payable to
defense counsel on the above case regarding the above referenced defendant.




                                   Signed: June 6, 2006




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